Case 2:05-cr-20089-.]P|\/|-de Document 23 Filed 06/24/05 Page 1 of 3 Page|D 36

IN THE UNITED sTATEs DISTRICT cOURT " --
FOR THE wEsTERN DISTRICT OF TENNESSEE iq __ l k
wESTERN DIVISION ..E':J £f-, .*t'é i_:-' l

 

 

UNITED STATES OF AMERICA
Plaintiff,

criminal N@.ZQF'-m§ Mi

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v. )

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\JGY€-( [:XHJWKPQZL: !;:EWF7` ) (90-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
he continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, é?e-BO-*§e.mheri§, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded

under the Speedy Trial Act through 005. Agreed in

This document entered on he docket heat in compliance
with Ru|e 55 and/or 32 {b) FRCrP on § E_Q‘Z-~ -~f)‘:§

 

Case 2:05-cr-20089-.]PI\/|-de Document 23 Filed 06/24/05 Page 2 of 3 Page|D 37

SO ORDERED this 24th day of June, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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Ass st t Unit f gtafes Attorney

 

  

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Counsel for Defendant(s)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20089 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

